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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 KYKO GLOBAL, INC., et al,

                Plaintiffs,                           Civil Action No. 2:18-cv-1290

 v.                                                   Hon. William S. Stickman IV

 PRITHVI INFORMATION SOLUTIONS,
 LTD., et al,

                Defendants.


                                     PROTECTIVE ORDER

       Pursuant to Rule 26(c) of the Federal Rules of Civil Procedure, the following Protective
Order has been entered by Court.

Proceedings and Information Governed.

        1.      This Order and any amendments or modifications hereto ("Protective Order") shall
govern any document, information, or other thing furnished by any party, to any other party, and
includes non-parties who receive a subpoena in connection with this action. The information
protected includes, but is not limited to, answers to interrogatories, answers to requests for
admission, responses to requests for production of documents, deposition transcripts and
videotapes, deposition exhibits, and other writings or things produced, given, or filed in this action
that are designated by a party as "Confidential Information," "Confidential Attorney Eyes Only
Information," or “Highly Confidential – Source Code Information” (collectively, “Protected
Information”) in accordance with the terms of this Order, as well as to any copies, excerpts,
abstracts, analyses, summaries, descriptions, or other forms of recorded information containing,
reflecting, or disclosing such information.

Designation and Maintenance of Information.

       2.      For purposes of this Protective Order:

                (a)    The "Confidential Information" designation shall mean that the document
       is comprised of trade secrets or commercial information which is not publicly known and
       is of technical or commercial advantage to its possessor, in accordance with Federal Rule
       of Civil Procedure 26(c)(7), or other information required by law or agreement to be kept
       confidential.
                (b)    The "Confidential Attorney Eyes Only Information" designation shall mean
       that the document is comprised of Confidential Information that the producing party deems

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especially sensitive, which may include, but is not limited to, confidential research and
development, financial, technical, marketing, any other sensitive trade secret information,
or information capable of being utilized for the preparation or prosecution of a patent
application dealing with such subject matter.

       (c)      The “Highly Confidential – Source Code Information” designation shall
mean extremely sensitive “Confidential Information” representing computer code and
associated comments and revision histories, formulas, engineering specifications, or
schematics that define or otherwise describe in detail the algorithms or structure of software
or hardware designs, disclosure of which to another party or non-party would create a
substantial risk of serious harm that could not be avoided by less restrictive means.

       (d)     Protected Information does not include, and this Protective Order shall not
apply to, information that is already in the knowledge or possession of the party to whom
disclosure is made unless that party is already bound by agreement not to disclose such
information, or information that has been disclosed to the public or third persons in a
manner making such information no longer confidential.

3.     Protected Information may be designated in the following manner.

       (a)     Documents and things produced during the course of this litigation within
the scope of paragraph 2(a) above, may be designated by the producing party as containing
Confidential Information by placing on each page and each thing a legend substantially as
follows:

                     CONFIDENTIAL INFORMATION
                    SUBJECT TO PROTECTIVE ORDER

       (b)     Documents and things produced during the course of this litigation within
the scope of paragraph 2(b) above may be designated by the producing party as containing
Confidential Attorney Eyes Only Information by placing on each page and each thing a
legend substantially as follows:

       CONFIDENTIAL ATTORNEY EYES ONLY INFORMATION
               SUBJECT TO PROTECTIVE ORDER

       (c)     Documents and things produced during the course of this litigation within
the scope of paragraph 2(c) above may be designated by the producing party as containing
Highly Confidential – Source Code Information by placing on each page and each thing a
legend substantially as follows:

      HIGHLY CONFIDENTIAL – SOURCE CODE INFORMATION
               SUBJECT TO PROTECTIVE ORDER

       (d)    A party may designate information disclosed at a deposition as Protected
Information by requesting the reporter to so designate the transcript or any portion thereof


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       at the time of the deposition. If no such designation is made at the time of the deposition,
       any party shall have fourteen (14) calendar days after the date of the deposition to
       designate, in writing to the other parties and to the court reporter, whether the transcript is
       to be designated as Protected Information. If no such designation is made at the deposition
       or within such fourteen (14) calendar day period (during which period, the transcript shall
       be treated as Confidential Attorneys Eyes Only Information, unless the disclosing party
       consents to less confidential treatment of the information), the entire deposition will be
       considered devoid of Protected Information. Each party and the court reporter shall attach
       a copy of any final and timely written designation notice to the transcript and each copy
       thereof in its possession, custody or control, and the portions designated in such notice
       shall thereafter be treated in accordance with this Protective Order.

              (e)     It is the responsibility of counsel for each party to maintain materials
       containing Protected Information in a secure manner and appropriately identified so as to
       allow access to such information only to such persons and under such terms as is permitted
       under this Protective Order.

Inadvertent Failure to Designate.

        4.      The inadvertent failure to designate or withhold any information as confidential or
privileged will not be deemed to waive a later claim as to its confidential or privileged nature, or
to stop the producing party from designating such information as confidential at a later date in
writing and with particularity. The information shall be treated by the receiving party as
confidential from the time the receiving party is notified in writing of the change in the designation.

Challenge to Designations.

        5.      A receiving party may challenge a producing party's designation at any time. Any
receiving party disagreeing with a designation may request in writing that the producing party
change the designation. The producing party shall then have fourteen (14) days after receipt of a
challenge notice to advise the receiving party whether or not it will change the designation. If the
parties are unable to reach agreement after the expiration of this fourteen (14) day time frame, and
after the conference required under Local Rule 37.1, the receiving party may at any time thereafter
seek a Court Order to alter the confidential status of the designated information. Until any dispute
under this paragraph is ruled upon by the Court, the designation shall remain in full force and
effect and the information shall continue to be accorded the confidential treatment required by this
Protective Order.

Disclosure and Use of Confidential Information.

        6.     Information designated as Confidential Information or Protected Information may
only be used for purposes of preparation, trial and appeal. The terms and conditions of this
Protective order shall apply to this action and any other actions or proceedings among the parties
arising from or related to this action regardless of whether the other actions or proceedings are
currently pending or subsequently instituted after execution of this Protective Order. Protected
Information may not be used under any circumstances for prosecuting any patent application, or


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for patent licensing. The provisions of LCvR 16.1.D, relating to the inadvertent disclosure of
privileged information, shall apply in all cases governed by this Protective Order.

        7.      Subject to paragraph 9 below, Confidential Information may be disclosed by the
receiving party only to the following individuals provided that such individuals are informed of
the terms of this Protective Order: (a) three (3) employees, directors, and officers of the receiving
party who are required in good faith to provide assistance in the conduct of this litigation, including
any settlement discussions, and who are identified as such in writing to counsel for the designating
party in advance of the disclosure; (b) two (2) in-house counsel who are identified by the receiving
party; (c) outside counsel for the receiving party; (d) supporting personnel employed by (a), (b)
and (c), such as paralegals, legal secretaries, data entry clerks and legal clerks; (e) experts or
consultants; (f) any persons requested by counsel to furnish services such as photocopying,
document coding, image scanning, mock trial, jury profiling, translation services, court reporting
services, demonstrative exhibit preparation, or the creation of any computer database from
documents; and (g) the Court and its personnel.

        8.     Subject to paragraph 9 below, Confidential Attorney Eyes Only Information may
be disclosed by the receiving party only to the following individuals provided that such individuals
are informed of the terms of this Protective Order: (a) two (2) in-house counsel who are identified
by the receiving party; (b) outside counsel for the receiving party; (c) supporting personnel
employed by (a) and (b), such as paralegals, legal secretaries, data entry clerks and legal clerks;
(d) experts or consultants; (e) any persons requested by counsel to furnish services such as
photocopying, document coding, image scanning, mock trial, jury profiling, translation services,
court reporting services, demonstrative exhibit preparation, or the creation of any computer
database from documents; and (f) the Court and its personnel.

        9.      Further, prior to disclosing Confidential Information or Confidential Attorney Eyes
Only Information to a receiving party's proposed expert, consultant or employees, the receiving
party shall provide to the producing party a signed Confidentiality Agreement in the form attached
as Exhibit A, the resume or curriculum vitae of the proposed expert or consultant, the expert or
consultant's business affiliation, and any current and past consulting relationships in the industry.
The producing party shall thereafter have fourteen (14) days from receipt of the Confidentiality
Agreement to object to any proposed individual. Such objection must be made for good cause and
in writing, stating with particularity the reasons for objection. Failure to object within fourteen
(14) days shall constitute approval. If the parties are unable to resolve any objection, the receiving
party may apply to the Court to resolve the matter. There shall be no disclosure to any proposed
individual during the fourteen (14) day objection period, unless that period is waived by the
producing party, or if any objection is made, until the parties have resolved the objection or the
Court has ruled upon any resultant motion.

       10.     Counsel shall be responsible for the adherence by third-party vendors to the terms
and conditions of this Protective Order. Counsel may fulfill this obligation by obtaining a signed
Confidentiality Agreement in the form attached as Exhibit B.




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       11.      Confidential Information or Confidential Attorney Eyes Only Information may be
disclosed to a person, not already allowed access to such information under this Protective Order,
if:

               (a)     the information was previously received or authored by the person or was
        authored or received by a director, officer, employee, or agent of the company for which
        the person is testifying as a Rule 30(b)(6) designee;

               (b)     the designating party is the person or is a party for whom the person is a
       director, officer, employee, consultant or agent; or

               (c)    counsel for the party designating the material agrees that the material may
       be disclosed to the person.

       In the event of disclosure under this paragraph, only the reporter, the person, his or her
counsel, the Court and its personnel, and persons to whom disclosure may be made, and who are
bound by the Protective Order, may be present during the disclosure or discussion of the Protected
Information. Disclosure of material pursuant to this paragraph shall not constitute a waiver of the
confidential status of the material so disclosed.

Disclosure and Use of Highly Confidential—Source Code Information.

        12.    To the extent production of source code becomes necessary in this case, a producing
party may designate source code as Highly Confidential—Source Code Information if it comprises
or includes confidential, proprietary, or trade secret source code.

        13.    The parties agreed to cooperate in good faith so as to protect the producing party’s
source code while not unreasonably hindering the receiving party’s ability to efficiently and
effectively conduct the prosecution or defense of this action.

        14.      Protected Information designated as Highly Confidential—Source Code shall be
subject to all of the protections afforded to Confidential Attorney Eyes Only Information and may
be disclosed only to the authorized individuals to whom Confidential Attorney Eyes Only
Information may be disclosed, as set forth in paragraph 8, with the exception of the two in-house
counsel specified in paragraph 8(a). Disclosure of this information to the individuals identified in
paragraph 8(e) may only be made if the disclosure is reasonably necessary for this litigation and
the individuals have signed the Confidentiality Agreement in the form attached as Exhibit B.

        15.    Any source code produced in discovery shall be made available for inspection, in a
format allowing it to be reasonably reviewed and searched, during normal business hours (8:00
a.m. to 6:00 p.m. on open business days) or at other mutually agreeable times, at an office of the
producing party’s counsel or another mutually agreed upon location. The source code shall be
made available for inspection on a secured computer in a secured room without internet access or
network access to other computers, and the receiving party shall not copy, remove, or otherwise
transfer any portion of the source code onto any recordable media or recordable device. The
producing party shall provide the receiving party with information explaining how to start, log on
to, and operate the computer(s) in order to access the source code. The producing party may

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visually monitor the activities of the receiving party’s representatives during any source code
review, but only to ensure that there is no unauthorized recording, copying, or transmission of the
source code.

        16.     The receiving party may request paper copies of limited portions of source code
that are reasonably necessary for the preparation of court filings, pleadings, expert reports, or other
papers, or for deposition or trial, but shall not request paper copies for the purposes of reviewing
the source code other than electronically as set forth in paragraph 15 in the first instance. The
producing party shall provide all such source code in paper form including bates numbers and the
label specified in paragraph 3(c). The producing party may challenge the amount of source code
requested in hard copy form pursuant to the dispute resolution procedure and timeframes set forth
in paragraph 5 whereby the producing party is the “receiving party” and the receiving party is the
“producing party” for purposes of the dispute resolution provisions of that paragraph.

       17.      The receiving party shall maintain a record of any individual who has inspected any
portion of the source code in electronic or paper form. The receiving party shall maintain all paper
copies of any printed portions of the source code in a secured, locked area under the supervision
and control of an individual authorized to be in possession of the information. The receiving party
may also temporarily keep paper copies of any printed portions of the source code at (a) the Court
for any proceedings where the use of the source code may be relevant; (b) the site of any
depositions where the use of the source code may be relevant; and (c) any intermediate location
reasonably necessary to transport the copies (e.g., at a hotel prior to a Court proceeding or
deposition) as long as the receiving party takes reasonable steps to secure the copies.

        18.    Highly Confidential—Source Code Information may only be transported by the
receiving party at the direction of a person authorized to be in possession of the information by
hand carry, Federal Express, or other similar reliable courier. Highly Confidential—Source Code
Information may not be transported or transmitted electronically over a network of any kind,
including a LAN, intranet, or the internet, except as required by the Court pursuant to paragraph
19 below.

        19.    The receiving party shall not create any electronic or other images of the paper
copies and shall not convert any of the information contained in the paper copies into any electronic
format without the producing party’s permission, except as is necessary to create documents that,
pursuant to the Court’s rules, procedures, or orders, must be filed or served electronically. The
receiving party shall only make additional paper copies if such additional copies are (1) necessary
to prepare court filings, pleadings, or other papers (including a testifying expert’s expert report),
(2) necessary for deposition, or (3) otherwise necessary for the preparation of its case. Any paper
copies used during a deposition shall be retrieved by the producing party at the end of each day
and must not be given to or left with a court reporter or any other unauthorized individual.

Non-Party Information.

       20.      The existence of this Protective Order shall be disclosed to any person producing
documents, tangible things or testimony in this action who may reasonably be expected to desire
confidential treatment for such documents, tangible things or testimony. Any such person may
designate documents, tangible things, or testimony confidential pursuant to this Protective Order.

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Filing Documents With the Court.

        21.      In the event that any party wishes to submit Protected Information to the Court,
such party shall follow the procedures prescribed by the Court, including obtaining leave of Court
prior to filing any documents under seal.

No Prejudice.

        22.     Producing or receiving confidential information, or otherwise complying with the
terms of this Protective Order, shall not (a) operate as an admission by any party that any particular
Protected Information contains or reflects trade secrets or any other type of confidential or
proprietary information; (b) prejudice the rights of a party to object to the production of
information or material that the party does not consider to be within the scope of discovery;
(c) prejudice the rights of a party to seek a determination by the Court that particular materials be
produced; (d) prejudice the rights of a party to apply to the Court for further protective orders; or
(e) prevent the parties from agreeing in writing to alter or waive the provisions or protections
provided for herein with respect to any particular information or material.

Conclusion of Litigation.

        23.     Subject to Paragraph 6 with respect to currently pending or subsequently instituted
actions or proceedings arising from this action, within sixty (60) calendar days after final judgment
in this action, including the exhaustion of all appeals, or within sixty (60) calendar days after
dismissal pursuant to a settlement agreement, each party or other person subject to the terms of
this Protective Order shall be under an obligation to destroy or return to the producing party all
materials and documents containing Protected Information, and to certify to the producing party
such destruction or return. However, all legal counsel for any party shall be entitled to retain all
court papers, trial transcripts, exhibits, and attorney work provided that any such materials are
maintained and protected in accordance with the terms of this Protective Order.

Other Proceedings.

        24.     By entering this Order and limiting the disclosure of information in this case, the
Court does not intend to preclude another court from finding that information may be relevant and
subject to disclosure in another case. Any person or parties subject to this Protective Order that
may be subject to a motion to disclose another party's information designated as Protected
Information pursuant to this Protective Order, shall promptly notify that party of the motion so that
it may have an opportunity to appear and be heard on whether that information should be disclosed.

Remedies.

       25.      It is Ordered by the Court that this Protective Order will be enforced by the
sanctions set forth in Rule 37(b) of the Federal Rules of Civil Procedure and such other sanctions
as may be available to the Court, including the power to hold parties or other violators of this



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Protective Order in contempt. All other remedies available to any person(s) injured by a violation
of this Protective Order are fully reserved.

        26.      Any party may petition the Court for good cause shown, in the event such party
desires relief from a term or condition of this Order.


September 1, 2020                                   BY THE COURT:
Date

                                                    /s/ William S. Stickman IV
                                                    WILLIAM S. STICKMAN IV
                                                    UNITED STATES DISTRICT JUDGE




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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA



 KYKO GLOBAL, INC., et al,

                Plaintiffs,                         Civil Action No. 2:18-cv-1290

 v.                                                 Hon. William S. Stickman IV

 PRITHVI INFORMATION SOLUTIONS,
 LTD., et al,

                Defendants.




                    CONFIDENTIALITY AGREEMENT FOR EXPERT,
                    CONSULTANT OR EMPLOYEES OF ANY PARTY

I hereby affirm that:

       Information, including documents and things, designated as “Protected Information,” as
defined in the Protective Order entered in the above-captioned action (hereinafter "Protective
Order"), is being provided to me pursuant to the terms and restrictions of the Protective Order.

       I have been given a copy of and have read the Protective Order.

      I am familiar with the terms of the Protective Order and I agree to comply with and to be
bound by such terms.

       I submit to the jurisdiction of this Court for enforcement of the Protective Order.

        I agree not to use any Protected Information disclosed to me pursuant to the Protective
Order except as permitted in Paragraph 6 and not to disclose any such information to persons other
than those specifically authorized by said Protective Order, without the express written consent of
the party who designated such information as confidential or by order of this Court. I also agree
to notify any stenographic, clerical, or technical personnel who are required to assist me of the
terms of this Protective Order and of its binding effect on them and me.

       I understand that I am to retain all documents or materials designated as or containing
Protected Information in a secure manner, and that all such documents and materials are to remain
in my personal custody until the completion of my assigned duties in this matter, whereupon all

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such documents and materials, including all copies thereof, and any writings prepared by me
containing any Protected Information are to be returned to counsel who provided me with such
documents and materials.


DATE:                                             Signature:

                                                  Printed Name:

                                                  Title:




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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA



 KYKO GLOBAL, INC., et al,

                Plaintiffs,                           Civil Action No. 2:18-cv-1290

 v.                                                   Hon. William S. Stickman IV

 PRITHVI INFORMATION SOLUTIONS,
 LTD., et al,

                Defendants.



          CONFIDENTIALITY AGREEMENT FOR THIRD-PARTY VENDORS


I hereby affirm that:

       Information, including documents and things, designated as "Protected Information," as
defined in the Protective Order entered in the above-captioned action (hereinafter "Protective
Order"), is being provided to me pursuant to the terms and restrictions of the Protective Order.

        I have been given a copy of and have read the Protective Order.

      I am familiar with the terms of the Protective Order and I agree to comply with and to be
bound by such terms.

        I submit to the jurisdiction of this Court for enforcement of the Protective Order.

        I agree not to use any Protected Information disclosed to me pursuant to the Protective
Order except as permitted in Paragraph 6 and not to disclose any such information to persons other
than those specifically authorized by said Protective Order, without the express written consent of
the party who designated such information as confidential or by order of this Court.

DATE:                                                   Signature:

                                                        Printed Name:

                                                        Title:




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